            Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 1 of 13




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

RYAN PFLIPSEN,                            )
                                          )
       Plaintiff,                         )
                                          )       CIVIL ACTION
vs.                                       )
                                          )       FILE No. 5:21-cv-259
THE OAK CENTRE, LTD, L.P. d/b/a           )
OAK CENTRE,                               )
                                          )
       Defendant.                         )

                                      COMPLAINT

       COMES NOW, RYAN PFLIPSEN, by and through the undersigned counsel, and

files this, his Complaint against Defendant THE OAK CENTRE, LTD, L.P. d/b/a OAK

CENTRE, pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In

support thereof, Plaintiff respectfully shows this Court as follows:

                                    JURISDICTION

       1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendant’s failure to remove physical barriers to access and violations of Title III of the

ADA.

                                        PARTIES

       2.     Plaintiff RYAN PFLIPSEN (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in San Antonio, Texas


                                              1
            Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 2 of 13




(Bexar County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. His motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon this Court so an injunction can be issued correcting the numerous ADA

violations on this Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

       7.      Defendant THE OAK TREE CENTRE, LTD, L.P. d/b/a OAK CENTRE

(hereinafter “OAK CENTRE”) is a Texas for profit corporation that transacts business in

the state of Texas and within this judicial district.

       8.      OAK CENTRE may be properly served with process via its registered

agent for service, to wit: Scott Fleming, 825 West Bitters Road, Suite 201, San Antonio,

Texas 78216.

                               FACTUAL ALLEGATIONS

                                               2
             Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 3 of 13




       9.     On or about December 12, 2021, Plaintiff was a customer at “Thai Chili” a

business located at 2950 Thousand Oaks Road, #10, San Antonio, Texas 78247,

referenced herein as the “Thai Chili.”

       10.    OAK CENTRE is the owner or co-owner of the real property and

improvements that the Thai Chili is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       11.    Plaintiff lives approximately 6 miles from the Thai Chili and Property.

       12.    Plaintiff’s access to the business(es) located at 2950 Thousand Oaks Road,

San Antonio, Bexar County Property Identification number 641060 (“the Property”),

and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and

until Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Thai Chili and Property, including those set forth in this

Complaint.

       13.    Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in this Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property is made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

       14.    Plaintiff intends to revisit the Thai Chili and Property to purchase goods

                                            3
               Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 4 of 13




and/or services.

       15.      Plaintiff travelled to the Thai Chili and Property as a customer and as an

independent advocate for the disabled, encountered the barriers to access at the Thai Chili

and Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result of the

illegal barriers to access present at the Thai Chili and Property.


                                   COUNT I
                       VIOLATIONS OF THE ADA AND ADAAG

       16.      On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       17.      Congress found, among other things, that:

       (i)      some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a
                whole is growing older;

       (ii)     historically, society has tended to isolate and segregate individuals
                with disabilities, and, despite some improvements, such forms of
                discrimination against individuals with disabilities continue to be a
                serious and pervasive social problem;

       (iii)    discrimination against individuals with disabilities persists in such
                critical areas as employment, housing public accommodations,
                education,        transportation,    communication,        recreation,
                institutionalization, health services, voting, and access to public
                services;

       (iv)     individuals with disabilities continually encounter various forms of
                discrimination, including outright intentional exclusion, the
                discriminatory effects of architectural, transportation, and
                communication barriers, overprotective rules and policies, failure to
                make modifications to existing facilities and practices, exclusionary
                qualification standards and criteria, segregation, and relegation to

                                              4
              Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 5 of 13




               lesser service, programs, activities, benefits, jobs, or other
               opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination
               and prejudice denies people with disabilities the opportunity to
               compete on an equal basis and to pursue those opportunities for
               which our free society is justifiably famous, and costs the United
               States billions of dollars in unnecessary expenses resulting from
               dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       18.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the
               elimination of discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in
               order to address the major areas of discrimination faced day-to-day
               by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       19.      The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       20.     The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       21.     The Thai Chili is a public accommodation and service establishment.

       22.     The Property is a public accommodation and service establishment.


                                              5
             Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 6 of 13




       23.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.    The Thai Chili must be, but is not, in compliance with the ADA and

ADAAG.

       26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       27.    Plaintiff has attempted to, and has to the extent possible, accessed the Thai

Chili and the Property in his capacity as a customer of the Thai Chili and Property and as

an independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and ADA

violations that exist at the Thai Chili and Property that preclude and/or limit his access to

the Thai Chili and Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

       28.    Plaintiff intends to visit the Thai Chili and Property again in the very near

future as a customer in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Thai Chili and Property and

as an independent advocate for the disabled, but will be unable to fully do so because of

                                             6
             Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 7 of 13




his disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Thai Chili and Property that preclude and/or limit his access to

the Thai Chili and Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

       29.     Defendant has discriminated against Plaintiff (and others with disabilities)

by denying his access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Thai Chili and Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.     Defendant will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendant is compelled to remove all physical barriers that

exist at the Thai Chili and Property, including those specifically set forth herein, and

make the Thai Chili and Property accessible to and usable by Plaintiff and other persons

with disabilities.

       31.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Thai Chili and Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the Thai

Chili and Property include, but are not limited to:

       (a)     ACCESSIBLE ELEMENTS:



                                             7
        Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 8 of 13




(i) Near Thai Chili and Elixir Lounge, the required handrails on both sides of the

    accessible ramp are only present on one side in violation of section 505.2 of

    the 2010 ADAAG standards. This violation would make it difficult for Plaintiff

    to access the units of the Property.

(ii) Near Unit 12, the Property has an accessible ramp leading from the accessible

    parking space to the accessible entrances with an extreme slope exceeding 1:8

    in violation of section 405.2 of the 2010 ADAAG standards. This violation

    would make it dangerous and difficult for Plaintiff to access the units of the

    Property.

(iii)    Near Sunspot Massage, due to a policy of placing a trashcan in the exterior

    accessible route, there are publicly accessible areas of the Property having

    accessible routes with clear widths below the minimum 36 (thirty-six) inch

    requirement as required by section 403.5.1 of the 2010 ADAAG standards.

    This violation would make it dangerous and difficult for Plaintiff to access

    exterior public features of the Property.

(iv)     Near Sunspot Massage, due to the presence of small stones and a tree, the

    ground surfaces on the access route are not stable and otherwise fail to comply

    with section 302 of the 2010 ADAAG Standards.

(v) Near Sunspot Massage, due to a policy of placing a trashcan in the exterior

    accessible route, the Property lacks an accessible route connecting accessible

    facilities, accessible elements and/or accessible spaces of the Property in



                                       8
        Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 9 of 13




    violation of section 206.2.2 of the 2010 ADAAG standards. This violation

    would make it difficult for Plaintiff to access public features of the Property.

(vi)     In between Thai Chili and Sunspot Massage, due to a policy of not having

    parking stops preventing a vehicle from pulling up and having the nose of the

    vehicle block the accessible route, the parking spaces are not configured so that

    adjacent access routes are not obstructed in violation of section 502.7 of the

    2010 ADAAG standards.

(vii)    Near Unit 16, the access aisle to the accessible parking space is not level

    due to the presence of an accessible ramp in the access aisle in violation of

    section 502.4 of the 2010 ADAAG standards. This violation would make it

    dangerous and difficult for Plaintiff to exit and enter their vehicle while parked

    at the Property.

(viii) In addition, near Unit 16, the accessible curb ramp is improperly protruding

    into the access aisle of the accessible parking space in violation of section

    406.5 of the 2010 ADAAG Standards. This violation would make it difficult

    and dangerous for Plaintiff to exit/enter their vehicle.

(ix)     Near Unit 16, the Property has an accessible ramp that lacks finished edges

    or edge protection and/or is otherwise in violation of section 405.9 of the 2010

    ADAAG standards. This violation would make it difficult for Plaintiff to

    access the units of the Property.

(x) Near Unit 16, the accessible parking space is missing a proper identification

    sign in violation of section 502.6 of the 2010 ADAAG standards. This

                                        9
       Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 10 of 13




    violation would make it difficult for Plaintiff to locate an accessible parking

    space.

(xi)     Near Unit 23, there is an excessive vertical rise at the base of the accessible

    ramp in violation of Section 303.2 and 405.4 of the 2010 ADAAG

    standards. This violation would make it dangerous and difficult for Plaintiff to

    access public features of the Property.

(xii)    Near Unit 23, the required handrails on both sides of the accessible ramp

    are not present in violation of section 505.2 of the 2010 ADAAG standards.

    This violation would make it difficult for Plaintiff to access the units of the

    Property.

(xiii) The Property lacks an accessible route from the public sidewalk to the

    accessible entrances in violation of section 206.2.1 of the 2010 ADAAG

    standards. This violation would make it difficult for Plaintiff to access the units

    of the Property.

(xiv) There is an inadequate number of accessible parking spaces in violation of

    section 208.2 of the 2010 ADAAG Standards.                 There are a total of

    approximately 119 parking spaces on the property, requiring a total of five

    accessible parking spaces, but there are only three accessible parking spaces.

    This violation would make it difficult for Plaintiff to park in an accessible

    parking space.

(xv)     Defendant fails to adhere to a policy, practice and procedure to ensure that

    all facilities are readily accessible to and usable by disabled individuals.

                                        10
             Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 11 of 13




       32.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Thai Chili and

Property.

       33.     Plaintiff requires an inspection of Thai Chili and Property in order to

determine all of the discriminatory conditions present at the Thai Chili and Property in

violation of the ADA.

       34.     The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

       35.     All of the violations alleged herein are readily achievable to modify to

bring the Thai Chili and Property into compliance with the ADA.

       36.     Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Thai Chili and Property is readily achievable

because the nature and cost of the modifications are relatively low.

       37.     Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Thai Chili and Property is readily achievable

because Defendants have the financial resources to make the necessary modifications.

       38.     Upon information and good faith belief, the Thai Chili and Property have

been altered since 2010.

       39.     In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

                                            11
             Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 12 of 13




modified to comply with the 1991 ADAAG standards.

       40.     Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendant is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Thai Chili and Property, including those alleged herein.

       41.     Plaintiff’s requested relief serves the public interest.

       42.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant.

       43.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

       44.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant to

modify the Thai Chili and Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)     That the Court find Thai Chili in violation of the ADA and ADAAG;

       (b)     That the Court issue a permanent injunction enjoining Defendant from

               continuing their discriminatory practices;

       (c)     That the Court issue an Order requiring Defendant to (i) remove the

               physical barriers to access and (ii) alter the subject Thai Chili to make it

               readily accessible to and useable by individuals with disabilities to the

               extent required by the ADA;

       (d)     That the Court award Plaintiff his reasonable attorneys' fees, litigation

                                               12
      Case 5:21-cv-00259 Document 1 Filed 03/15/21 Page 13 of 13




        expenses and costs; and

(e)     That the Court grant such further relief as deemed just and equitable in light

        of the circumstances.

                                    Dated: March 15, 2021.

                                    Respectfully submitted,

                                    /s/ Dennis R. Kurz
                                    Dennis R. Kurz
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                                      13
